  Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 1 of 32




                              EXHIBIT E
                                  TO
DECLARATION OF STEVEN A. MILLS IN SUPPORT OF DEFENDANTS’
    MOTION TO DISMISS THE THIRD AMENDED COMPLAINT
Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 2 of 32
     Case 4:22-cv-05502-DMR    Document 295-10    Filed 01/02/25   Page 3 of 32



                                                                                      1

 1                      UNITED STATES DISTRICT COURT

 2                     NORTHERN DISTRICT OF CALIFORNIA

 3    - - - - - - - - - - - - - - - - -
 4    COALITION ON HOMELESSNESS; TORO              )

 5    CASTANO; SARAH CRONK; JOSHUA                 )

 6    DONOHOE; MOLIQUE FRANK; DAVID                )
 7    MARTINEZ; TERESA SANDOVAL;                   )

 8    NATHANIEL VAUGHN,                            )

 9                    Plaintiffs,                  ) CASE NO.
10    v.                                           ) 4:22-cv-05502-DMR(LJC)
11    CITY AND COUNTY OF                           )

12    SAN FRANCISCO, et al.,                       )
13                    Defendants.                  )

14    - - - - - - - - - - - - - - - - -

15
16             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

17                       PURSUANT TO PROTECTIVE ORDER

18                VIDEOTAPED DEPOSITION OF SARAH A. CRONK

19                       MONDAY, SEPTEMBER 23, 2024

20

21                            BEHMKE REPORTING AND VIDEO SERVICES, INC.

22                                     BY:       MARY J. GOFF, CSR NO. 13427

23                                     550 CALIFORNIA STREET, SUITE 820

24                                     SAN FRANCISCO, CALIFORNIA              94104

25                                                                 (415) 597-5600

                   BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 4 of 32



                                                                                2

 1

 2

 3
 4

 5

 6
 7

 8                 Videotaped deposition of SARAH A. CRONK,

 9    taken on behalf of Defendants, at Lawyers'
10    Committee for Civil Rights of the San Francisco Bay
11    Area, 131 Steuart Street, Suite 400, San Francisco,

12    California, commencing at 10:09 A.M., MONDAY,
13    SEPTEMBER 23, 2024, before Mary J. Goff, California

14    Certified Shorthand Reporter No. 13427 and WA CSR

15    No. 21030779, pursuant to Notice.
16

17

18

19

20

21

22

23

24

25

                   BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 5 of 32



                                                                                3

 1    APPEARANCES OF COUNSEL:

 2    FOR PLAINTIFFS:

 3           LAWYERS' COMMITTEE FOR CIVIL RIGHTS OF THE
 4           SAN FRANCISCO BAY AREA, CCRSF

 5           BY:   ANDREW NTIM, ATTORNEY AT LAW

 6           131 Steuart Street
 7           Suite 4000

 8           San Francisco, California          94105

 9           Telephone:       (415) 543-9444
10           Email:    antim@lccrsf.org
11

12    - AND -
13           ACLU FOUNDATION OF NORTHERN CALIFORNIA

14           BY:   WILLIAM S. FREEMAN, ATTORNEY AT LAW

15           39 Drumm Street
16           San Francisco, California          94111

17           Telephone:       (415)-621-2493

18           Email:    wfreeman@aclunc.org

19

20

21

22

23

24

25

                   BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 6 of 32



                                                                                4

 1    APPEARANCES OF COUNSEL (CONTINUED):

 2    FOR DEFENDANTS:

 3           OFFICE OF THE CITY ATTORNEY
 4           BY:   STEVEN MILLS, ATTORNEY AT LAW

 5                 KAITLYN MURPHY, ATTORNEY AT LAW

 6           1390 Market Street
 7           Sixth Floor

 8           San Francisco, California          94102

 9           Telephone:       (415) 355-3304
10           Email:    steven.mills@sfcityattry.org
11                     kaitlyn.murphy@sfcityattry.org

12
13    ALSO PRESENT:

14           VINNY BEZERRA, VIDEOGRAPHER

15
16

17

18

19

20

21

22

23

24

25

                   BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 7 of 32



                                                                                93

 1           A     I found out about them in 2011 through an

 2    outreach team that was offering me services when I

 3    was on the street at the time.
 4           Q     And was it a Coalition on Homelessness

 5    outreach team?

 6           A     No.    It was a different outreach team.
 7           Q     What is your understanding of what

 8    Coalition on Homelessness does?

 9           A     Okay.      Coalition on Homelessness fights to
10    advocate for the rights of homeless people, tries to
11    offer them services and connect them with services

12    related to getting on their feet, securing stable
13    housing, and not having their rights violated.

14           Q     And has that been your understanding of

15    what Coalition has done since you first learned
16    about them in around 2011?

17           A     Yes.

18           Q     Anything changed about your perception of

19    Coalition on Homelessness since 2011?

20           A     No.

21           Q     What are your impressions of the Coalition

22    on Homelessness?

23                 ATTORNEY FREEMAN:       Objection, ambiguous.

24           Q     (BY ATTORNEY MILLS) And you can answer, to

25    the extent you understand.

                   BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 8 of 32



                                                                                94

 1           A     Can you repeat the question?            I'm sorry.

 2           Q     Yeah.

 3                 So what are your views of the -- personal
 4    views of the Coalition on Homelessness?

 5           A     I think they're amazing.          I think they're

 6    a very important organization.
 7                 I have -- I'm very grateful to them for

 8    the work that they do to help people that have been

 9    in the situations that I have been in.               And I think
10    they're great.
11           Q     And are you aware that the Coalition on

12    Homelessness includes individuals that are housed in
13    their leadership?

14           A     Yes.

15           Q     Has the Coalition on Homelessness ever
16    offered you services personally?

17           A     No.

18           Q     Have you ever been to the Coalition on

19    Homelessness' office?

20           A     Yes.

21           Q     And what would you do when you would go to

22    the Coalition on Homelessness' office?

23           A     Just speak to people.

24           Q     And when do you think you first went to

25    their office?

                   BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10    Filed 01/02/25   Page 9 of 32



                                                                                 96

 1    from Coalition about knowing your rights?

 2           A     Probably around the same time I found out

 3    about them.
 4           Q     So fair to say sometime around 2011?

 5           A     Yeah.

 6           Q     And how often do you think you would see
 7    documents like that reminding you of what your

 8    rights were from Coalition on Homelessness?

 9           A     Pretty frequently.           Maybe every few months
10    or so.     But of course while I was in the City.
11           Q     Okay.      Have you ever asked for services

12    from Coalition on Homelessness that were declined?
13           A     No.

14           Q     Have you ever worked for the Coalition on

15    Homelessness as either an employee or an independent
16    contractor?

17           A     No.

18           Q     Have you ever been a volunteer with the

19    Coalition on Homelessness?

20           A     Not officially.

21           Q     Okay.      Well, what about unofficially?

22    Have you been a volunteer with the Coalition on

23    Homelessness?

24           A     Sure.

25           Q     And when was that?

                   BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 10 of 32



                                                                                 97

 1           A      I would say that was around the pandemic,

 2     2 -- after 2020.

 3           Q      And what did your volunteer activities
 4     with the Coalition on Homelessness involve?

 5           A      I would -- I have given out food,

 6     distributed socks, spare sleeping bags, just had
 7     conversations with people about what services are

 8     available to them and tried to help my fellow person

 9     who was outside.
10           Q      Have you ever gotten a sleeping bag from
11     Coalition on Homelessness?

12           A      Um-hum.
13           Q      How many sleeping bags have you gotten

14     from the Coalition on Homelessness?

15           A      I believe two.
16           Q      Okay.     And how many hours would you say

17     you have spent volunteering with the Coalition on

18     Homelessness?

19                  ATTORNEY NTIM:      Objection.       Vague as to

20     time.

21                  ATTORNEY MILLS:      And I just want to

22     clarify, because we have had two objecting

23     attorneys.

24                  Which attorney is the speaking attorney

25     for the record?

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 11 of 32



                                                                                 98

 1                  ATTORNEY NTIM:      I'm the primary speaking

 2     attorney.

 3                  ATTORNEY MILLS:      Okay.     Thank you.
 4                  ATTORNEY FREEMAN:       But I also think that

 5     as a matter of record, that any attorney can make an

 6     objection.
 7           A      Yeah, can you -- can you tell me, like,

 8     what timeline you're talking about?

 9           Q      (BY ATTORNEY MILLS) So in total, how many
10     hours do you think you have spent volunteering for
11     the Coalition on Homelessness?

12           A      In total?     Probably 200 hours.
13           Q      And when do you think those service hours

14     with Coalition on Homelessness started?

15           A      Around 2015-2016.
16           Q      Did you ever receive any type of training

17     from the Coalition on Homelessness?

18           A      No.

19           Q      Are there other organizations that you

20     volunteered with in the past five years other than

21     Coalition on Homelessness as far as, like,

22     homelessness issues are concerned?

23           A      No.

24           Q      Have you ever been a member of the

25     Coalition on Homelessness?

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 12 of 32



                                                                                 99

 1           A      Yes.

 2           Q      And what is your understanding of what the

 3     requirements are to be a member of the Coalition on
 4     Homelessness?

 5           A      I think the requirements are pretty loose.

 6     I think it's that you are -- you stand up for the
 7     rights of homelessness, try to advocate for the laws

 8     in the City to change as far as how they treat

 9     people on the street and with regard to treating
10     them with compassion and dignity.             Things of that
11     nature.    And also, just trying to help out whenever

12     possible.
13           Q      And do you have to pay any dues or

14     anything to be a member of the Coalition on

15     Homelessness?
16           A      No.

17           Q      Do you have to sign up formally to be a

18     member of the Coalition on Homelessness?

19           A      No.

20           Q      Did you do anything to sign up to become a

21     member of the Coalition on Homelessness?

22           A      No.

23           Q      Do you know if membership is limited to

24     being unhoused in San Francisco?

25           A      No, it's not.

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 13 of 32



                                                                                 100

 1           Q      So does the Coalition on Homelessness

 2     include members of other communities outside of

 3     San Francisco?
 4           A      Not that I know of.

 5           Q      Does the Coalition on Homelessness include

 6     members that are housed?
 7           A      Yes.

 8           Q      Are you aware of any documents that may

 9     track the Coalition on Homelessness' members?
10           A      No.
11           Q      And when do you think, based off of your

12     own experience, you first became a member of the
13     Coalition on Homelessness?

14           A      2021.

15           Q      And do you know when in 2021?
16           A      No, I don't know exactly when.

17           Q      Okay.     And what made you think that you

18     were finally or officially a member of the Coalition

19     on Homelessness in 2021?

20           A      Doing specific volunteer work with the

21     people that I knew that were official members as

22     well.

23           Q      And who were those official members that

24     you were volunteering with?

25           A      I don't recall the names of -- I don't

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 14 of 32



                                                                                 101

 1     recall the -- their exact names.

 2           Q      Do they have nicknames that you can

 3     recall?
 4           A      One person, yes.

 5           Q      And what's that name?

 6           A      Cooper.
 7           Q      Do you know if Cooper is still a member of

 8     the Coalition on Homelessness?

 9           A      Yes.
10           Q      Are you still in contact with Cooper?
11           A      Yes.

12           Q      Do you have Cooper's phone number?
13           A      Yes.

14           Q      Would you be able to provide Cooper's

15     phone number?
16           A      Yes.

17           Q      And do you have -- do you know if Cooper

18     has an email address?

19           A      I don't know it.

20           Q      How do you often communicate with Cooper?

21           A      Via text.

22           Q      Are there any other official members that

23     you know of?

24           A      I -- I can't give you any names.

25           Q      Do you know what rights you have as a

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 15 of 32



                                                                                 102

 1     member of the Coalition on Homelessness?

 2           A      As a member of the Coalition?

 3           Q      Um-hum.    Correct.
 4           A      Like as opposed to, like...

 5           Q      As a self-identified member of the

 6     Coalition on Homelessness, do you have any rights in
 7     the organization?

 8           A      I -- I don't really understand what...

 9           Q      Do you get to vote on any Coalition
10     projects?
11           A      Oh, no.

12           Q      Do you get to decide where money gets
13     spent by Coalition?

14           A      No.

15           Q      Do you get to have a say in the causes
16     that Coalition wants to advance or proceed on?

17           A      Yes.

18           Q      And how do you end up getting to have a

19     voice in those projects?

20           A      By speaking to individuals, going to

21     committee meetings.        Things like that.

22           Q      Have you gone to any committee meetings?

23           A      I have not.

24           Q      Are you familiar with the Human Rights

25     Work Group?

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 16 of 32



                                                                                 103

 1           A      I have heard of them.

 2           Q      Have you been to that group?

 3           A      No.
 4           Q      What about the Housing Justice Work Group?

 5     Have you been to that group?

 6           A      No.
 7           Q      Do you know if the Human Rights Work Group

 8     is open to the public?

 9           A      I believe so, yes.
10           Q      Do you know if attorneys are present at
11     those meetings?

12           A      I do not know.
13           Q      Based off of what you have heard about the

14     Human Rights Work Group meetings, do you know if

15     they're intended to be confidential?
16           A      I believe they are.

17           Q      Have you ever heard of anybody saying that

18     they had to sign an agreement with Coalition on

19     Homelessness to be a member or a participant?

20           A      No.

21           Q      Do you know when Coalition on Homelessness

22     started monitoring the City's destruction of

23     homeless people's property?

24           A      I'm not sure when it started.

25           Q      Do you have a rough idea of when it could

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 17 of 32



                                                                                 104

 1     have started based off of your knowledge of the

 2     Coalition on Homelessness?

 3           A      I'm not sure when the organization formed,
 4     but I'm sure it was pretty recently after the

 5     formation.

 6           Q      Okay.     So if I told you that the Coalition
 7     on Homelessness knew that the City had been

 8     destroying homeless people's property since at least

 9     2016 and never brought a lawsuit, how does that make
10     you feel?
11                  ATTORNEY NTIM:      Objection, calls for

12     speculation.
13           Q      (BY ATTORNEY MILLS) But you can answer.

14           A      Considering that I understand the

15     difficulties in putting together a lawsuit and
16     basically being ready to come at something that will

17     actually make a difference, I can understand why

18     they would have waited, so it doesn't -- it doesn't

19     make me feel anything in particular.

20           Q      Would you think that the homeless -- that

21     the Coalition on Homelessness was a good

22     representative of the homeless community in

23     San Francisco if they failed to bring a lawsuit,

24     knowing that the City was systematically destroying

25     property in violation of the Constitution?

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 18 of 32



                                                                                 127

 1           A      No.

 2           Q      Do you know Teresa Sandoval?

 3           A      No.
 4           Q      Do you know Nathan Vaughn?

 5           A      No.

 6           Q      Okay.     So earlier you mentioned Cooper.
 7                  Do you know Cooper's full name?

 8           A      No, I can't remember.

 9           Q      Do you know if Cooper was married at some
10     point in time?
11           A      I don't know.

12           Q      Is Cooper -- do you know where Cooper is
13     living now?

14           A      No.

15           Q      When is the last time you communicated
16     with Cooper?

17           A      I saw her a couple of months ago.

18           Q      Is Ms. Cooper presently housed?

19           A      Yes.

20           Q      So how do you know Ms. Cooper is housed?

21           A      Well, as far as at the time that I saw her

22     last, she was.

23           Q      And is that in San Francisco?

24           A      Yes.

25           Q      Do you know if Ms. Cooper was housed in

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 19 of 32



                                                                                 158

 1     your health because of City conduct?

 2           A      No.

 3           Q      Do you intend to be homelessness in
 4     San Francisco again in the near future?

 5           A      No.

 6           Q      Where -- if you were homelessness in
 7     San Francisco, would you pack your property and move

 8     if you received notice of an encampment resolution?

 9           A      Yes.
10           Q      And where would you move?
11           A      I don't know.

12           Q      And if your property was taken, would you
13     go to the DPW yard to try to pick that property back

14     up?

15           A      Yes.
16           Q      Do you think that you could avoid or

17     mitigate any risk of future injury by losing your

18     property if you tried to avoid encampment

19     resolutions in the first place?

20           A      I'm sorry.     Can you -- can you please

21     restate that?

22           Q      Yeah.

23                  Do you agree that you would be able to

24     mitigate any risk of future injury that your

25     property would be stolen by trying to avoid

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 20 of 32



                                                                                 159

 1     encampment resolutions in the first place?

 2                  ATTORNEY FREEMAN:       Objection, calls for a

 3     legal conclusion.
 4           Q      (BY ATTORNEY MILLS) You can answer to the

 5     extent...

 6           A      Yes.
 7           Q      And are you aware that your current

 8     lawsuit against the City is not requesting monetary

 9     compensation for your injuries?
10           A      One more time.      I'm sorry.
11           Q      Are you aware that your current lawsuit

12     against the City is not requesting monetary
13     compensation for your injuries?

14           A      No.

15           Q      And why are you not seeking monetary
16     compensation for your injuries?

17           A      Because that's not my motivation for doing

18     this.

19           Q      And what's your motivation?

20           A      My motivation is for policies to change

21     and for the City to treat us homeless residents with

22     more respect and dignity and also treat their

23     belongings with respect and not take them from them

24     anymore.

25           Q      And do you agree that you have never tried

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25    Page 21 of 32



                                                                                  221

 1     4:05 p.m.)

 2                  THE VIDEOGRAPHER:       This is the beginning

 3     of Media Number 6.        Sorry.    Something just shut off.
 4     Sorry.    Second time today.        Sorry about.          I'm going

 5     to restart.

 6                  This is the beginning of Media Number 6 of
 7     the deposition of Sarah Cronk.           The time now is

 8     4:05 p.m., and we are back on the record.

 9           Q      (BY ATTORNEY MILLS) All right.               Thank you.
10     Ms. Cronk, I am going to move to mark just the next
11     exhibit, which is going to be Exhibit 6.                  So I will

12     give you a copy of that.
13                  (Exhibit 6 was marked for identification

14     and is attached to the transcript.)

15           Q      (BY ATTORNEY MILLS) Ms. Cronk, are you
16     familiar with Google Street View?

17           A      Yes.

18           Q      And have you ever looked at Google Street

19     View to see if you were captured on it with any of

20     your encampments or campsites?

21           A      No, I haven't.

22           Q      Okay.     So I'll represent that Exhibit 6 is

23     a copy of a street image from August 2022 next to

24     the Target on 13th and Folsom Street.

25                  So if you want to you take a moment to

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 22 of 32



                                                                                 222

 1     flip through the three pages.            And let me know when

 2     you're done.

 3           A      Yes, I'm done.
 4           Q      So, Ms. Cronk, is this the area where you

 5     were generally staying at when you would stay next

 6     to the Target location?
 7           A      Yes.

 8           Q      And earlier when you testified about kind

 9     of a divider where tents could be placed that may or
10     may not be a sidewalk, is the divider reflected on
11     page 1?

12           A      Yes.
13           Q      Okay.     And is that where the tents are

14     placed?

15           A      Yes.
16           Q      And, Ms. Cronk, when you looked at the

17     photos, did this refresh your recollection of any of

18     the conditions of a campsite that you may have been

19     staying in at some point in August of 2022?

20           A      Yes.

21           Q      And do you know roughly when this would

22     have been in August of 2022?

23           A      Probably the whole month of August.

24           Q      And, Ms. Cronk, have -- having flipped

25     through the three pages, did you see your campsite

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 23 of 32



                                                                                 223

 1     anywhere in the photographs?

 2            A     Yes.

 3            Q     Sorry.     What was the answer?
 4            A     Yes.

 5            Q     And, Ms. Cronk, which page are you looking

 6     at where you see your -- your encampment?
 7            A     I am looking at the second page.

 8            Q     So, Ms. Cronk, I'm going to hand you a red

 9     pen.    And if you could mark on the exhibit with the
10     pen where the encampment is.
11            A     (Complied.)

12            Q     And then can you please hold up the
13     photograph for the video?

14            A     (Complied.)

15            Q     And did you circle the tent with a green
16     top?

17            A     Yes.

18            Q     Okay.     And, Ms. Cronk, how do you know

19     that that's your tent?

20            A     I remember.

21            Q     And do you know how long you had this

22     tent?

23            A     I had that tent for a couple of months.

24            Q     And do you know who the tent is

25     immediately next to you on the right side?

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 24 of 32



                                                                                 225

 1     up with what looks like some kind of white sheep --

 2     or sorry -- white sheep or tarp hanging out, do you

 3     know what this structure is?
 4           A      No.

 5           Q      Would this reflect the shower that you

 6     were referring to earlier?
 7           A      No.

 8           Q      And, Ms. Cronk, in the tent that you

 9     circled, is -- were you staying with Mr. Donohoe in
10     that tent?
11           A      Yes.

12           Q      And, Ms. Cronk, do you know what items are
13     in the gutter below your tent?

14           A      It looks to be some -- some cans, maybe

15     paper towels.       I'm not sure exactly.
16           Q      And are those your cans and paper towels?

17           A      No, sir.

18           Q      And did you always stay next to this

19     pillar when you were living behind the Target on

20     13th and Folsom?

21           A      No.

22           Q      So would you move up and down the street

23     on that -- in that -- that location?

24           A      Yes.

25           Q      Do you know how long the tent existed that

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 25 of 32



                                                                                 226

 1     you circled in that location?

 2           A      A few months.

 3           Q      Is this what your tent looked like in
 4     September of 2022?

 5           A      No.

 6           Q      And what was different?
 7           A      It -- in September of 2022, if I remember

 8     correctly, I think we had a different tent with the

 9     same tarp over it and it was a little bit smaller.
10           Q      Is it common to change tents as a person
11     experiencing homelessness on the streets of

12     San Francisco?
13           A      Yes.

14           Q      Like how often would you typically change

15     out your tent?
16           A      Every couple of weeks to every couple of

17     months.

18           Q      And would you have to buy them yourself or

19     are you able to access tents for free through

20     various organizations that may provide them?

21           A      There were a few organizations that would

22     provide tents sometimes, if they had them, but most

23     of the time we would have to buy them.

24           Q      And do you know what organizations

25     provided tents in 2022?

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25    Page 26 of 32



                                                                                  230

 1           Q      Okay.     And in front of -- immediately in

 2     front of that in between what looks like a little

 3     red car and that item on the ground, is there a cart
 4     with items?

 5           A      Yes.

 6           Q      And was that your cart with items?
 7           A      No.

 8           Q      And did the street look like this from --

 9     in June of 2022 as well?
10           A      Yes.
11           Q      Thank you, Ms. Cronk.

12                  ATTORNEY NTIM:      Before we move on from
13     this item, can I ask if it was produced in the

14     litigation so far?

15                  ATTORNEY MILLS:      It has not been yet.
16                  ATTORNEY MURPHY:       Well, it's publicly

17     available.

18                  ATTORNEY MILLS:      It's publicly available?

19                  ATTORNEY MURPHY:       Yeah.

20                  ATTORNEY NTIM:      Okay.

21           Q      (BY ATTORNEY MILLS) All right.               All right.

22     Ms. Cronk, I'm going to mark the next exhibit, which

23     is going to be Exhibit 7.

24                  (Exhibit 7 was marked for identification

25     and is attached to the transcript.)

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 27 of 32



                                                                                 239

 1           A      Oh, I don't think so, no.

 2           Q      Do you know if other people were placed

 3     into shelter on that rainy day in January?
 4           A      I don't know.

 5           Q      Do you know if there was any kind of

 6     emergency shelter available to individuals because
 7     of the rain?

 8           A      Not that I know of.

 9           Q      And now that you have your transitional
10     housing, do you continue to store property on the
11     street at all in San Francisco?

12           A      No.
13           Q      Do you have any intent to do so?

14           A      No.

15           Q      So, Ms. Cronk, I'm going to mark the next
16     exhibit, which is going to be Exhibit 9.

17                  (Exhibit 9 was marked for identification

18     and is attached to the transcript.)

19           Q      (BY ATTORNEY MILLS) And I will represent

20     that this is a photo pulled from a 311 complaint

21     from September 11, 2022.

22                  ATTORNEY MILLS:      And all of the 311

23     complaints are being produced in the course of

24     discovery.

25                  ATTORNEY FREEMAN:       Are being -- have been

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 28 of 32



                                                                                 241

 1     tanks there were in that area in September of 2022?

 2           A      I would only be able to guess.

 3           Q      Do you have a best estimate based off of
 4     how many propane tanks you may have personally seen

 5     in that area?

 6           A      Maybe three or four.
 7           Q      Do you happen to know who owned these

 8     propane tanks in this photo?

 9           A      No.
10           Q      Do you happen to know whose campsite that
11     is in the photograph?

12           A      No.
13           Q      And you didn't have any propane tanks --

14           A      No, I didn't.

15           Q      -- in September of 2022?
16           A      No, I did not.

17           Q      So, Ms. Cronk, I'm going to mark the next

18     exhibit, which is going to be Exhibit 10.

19                  (Exhibit 10 was marked for identification

20     and is attached to the transcript.)

21           Q      (BY ATTORNEY MILLS) And I will represent

22     that this is another 311 photograph associated with

23     the complaint from September 14, 2022.               The same

24     issue.    The same file.

25                  And, Ms. Cronk, if you could go ahead and

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 29 of 32



                                                                                 242

 1     take a look at the photograph.           And let me know when

 2     you're done?

 3            A      Yes, I'm done.
 4            Q      Ms. Cronk, do you see your campsite in

 5     this photograph?

 6            A      Yes.
 7            Q      And, Ms. Cronk, do you still have the red

 8     pen?

 9            A      Yes.
10            Q      Can you circle for me where you see your
11     campsite in the photograph?

12            A      Oh, it's not working.
13            Q      Here.    Let's try this orange highlighter.

14     Here.      Sorry.    I'll keep it closed.

15            A      (Complied.)
16            Q      And then, Ms. Cronk, would you mind

17     holding up the photograph so we can see where you

18     circled.

19            A      (Complied.)

20            Q      And, Ms. Cronk, where did you apply the

21     circle in Exhibit 10?

22            A      The very first tent pictured, the green

23     tent.

24            Q      Okay.    And, Ms. Cronk, how do you know

25     that that's your tent in the bottom left-hand

                     BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                  (415) 597-5600
     Case 4:22-cv-05502-DMR    Document 295-10   Filed 01/02/25   Page 30 of 32



                                                                                  243

 1     corner?

 2           A      I recognize it.

 3           Q      Is there anything distinctive about the
 4     tent that refreshes your recollection?

 5           A      Yes.      The green rain fly.

 6           Q      And, Ms. Cronk, it looks like immediately
 7     adjacent there may be a black kind of storage

 8     container on the ground.

 9                  Is that your black storage container?
10           A      No.
11           Q      Do you know whose storage container that

12     is?
13           A      No.

14           Q      And, Ms. Cronk, do you know whose items

15     those are in front of the tent in the roadway
16     between the tent and Target?

17           A      Where are you talking about?             Like,

18     directly in front of the tent?

19           Q      Yeah.     It looks like there may be

20     something black next to a white item.

21           A      I'm not sure.

22           Q      Ms. Cronk, do you happen to see yourself

23     in this photograph?

24           A      No.

25           Q      Okay.     Ms. Cronk, do you happen to know

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 31 of 32



                                                                                 244

 1     who the person is that's holding the palette?

 2           A      No.

 3           Q      Do you happen to know if that was an
 4     encampment that was set up next to Target's door?

 5           A      There were no encampments by the Target

 6     door.
 7           Q      And, Ms. Cronk, how long did you have this

 8     tent in September?

 9           A      A few months.
10           Q      And then do you know how much longer into
11     September you had the tent?

12           A      Probably until December.
13           Q      And, Ms. Cronk, do you see any 2-foot

14     clearance in front of the tent between that roadway

15     where cars would park?
16                  ATTORNEY FREEMAN:       Object to the form of

17     the question.

18           Q      (BY ATTORNEY MILLS) You can answer.

19           A      I don't understand.         Can you --

20           Q      Yeah, we'll strike that.

21                  Ms. Cronk, when I'm looking at the

22     photograph of the tent, in the bottom left-hand

23     corner, is that the front door of the tent that's

24     pictured?

25           A      No --

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
     Case 4:22-cv-05502-DMR   Document 295-10   Filed 01/02/25   Page 32 of 32



                                                                                 276

 1     STATE OF CALIFORNIA              )

 2     COUNTY OF SAN FRANCISCO          ) ss.

 3           I hereby certify that the witness in the
 4     foregoing deposition, SARAH A. CRONK, was by me duly

 5     sworn to testify to the truth, the whole truth, and

 6     nothing but the truth, in the within-entitled cause;
 7     that said deposition was taken at the time and place

 8     herein named; and that the deposition is a true

 9     record of the witness's testimony as reported by me,
10     a duly certified shorthand reporter and a
11     disinterested person, and was thereafter transcribed

12     into typewriting by computer.
13           I further certify that I am not interested in

14     the outcome of the said action, nor connected with,

15     nor related to any of the parties in said action,
16     nor to their respective counsel.

17           IN WITNESS WHEREOF, I have hereunto set my hand

18     this 1st day of October, 2024.

19     Reading and Signing was:

20     _x_ requested      ___waived     ___ not requested

21

22

23

24                            MARY J. GOFF, CSR NO. 13427

25                            STATE OF CALIFORNIA

                    BEHMKE REPORTING AND VIDEO SERVICES, INC.
                                 (415) 597-5600
